                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:13-cr-00056-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                       ORDER
                                                )
ISIDORO OCHOA,                                  )
                                                )
                   Defendant.                   )



       THIS MATTER is before the court on defendant’s “Sealed Unopposed Motion for

Leave to File Objections to the Presentence Report” (#160), which the court deems to be a

Motion for Extension of Time to File Objections to the Presentence Report. The court also has

considered defendant’s “Motion to Seal Motion to Extend Time” (#161), which will be allowed

as the motion does mention a portion of the PSR which could be deemed confidential; however,

the request to seal this Order will be denied as the court need not reference such provision herein.

       Having considered defendant’s motion and reviewed the pleadings, the court enters the

following Order.




                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Sealed Unopposed Motion for

Leave to File Objections to the Presentence Report” (#160), deemed to be a Motion for

Extension of Time to File Objections to the Presentence Report, is ALLOWED, and defendant is

granted an additional 30 days within which to file Objections. Defendant’s “Motion to Seal

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Motion to Extend Time” (#161) is ALLOWED and the underlying Motion (#160) is SEALED,

but the motion is DENIED as to sealing this Order.

 Signed: May 28, 2014




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